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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF KENTUCKY
                             NORTHERN DIVISION


 CIVIL ACTION NO. 2:20CV23 (WOB)


 NICHOLAS SANDMANN                                          PLAINTIFF

 VS.                   MEMORANDUM OPINION AND ORDER


 THE NEW YORK TIMES CO.                                     DEFENDANT


         This matter is before the Court on defendant’s motion to

 dismiss for failure to state a claim on which relief may be

 granted.        (Doc. 18).        The Court has reviewed this matter and

 concludes that oral argument is unnecessary.

                                       Introduction

         The Complaint is based on the defendant’s news coverage of an

 event    that    occurred    on    January   18,   2019,   during   a   visit   by

 plaintiff Nicholas Sandmann and his fellow Covington Catholic High

 School students to Washington, D.C.

         Greatly summarized, the Complaint alleges that Sandmann was

 libeled by the defendant when it published a news article stating

 that Sandmann, while at the Lincoln Memorial, “blocked” Native-

 American activist Nathan Phillips and “prevented Phillips’ retreat

 while Nicholas and a mass of other young white boys surrounded,

 taunted, jeered and physically intimidated Phillips.” (Compl. ¶

 3).
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       This news story is alleged to be false and defamatory. (Id.).

 Sandmann further alleges that this publication by defendant and

 similar stories by other news media caused him to be harassed by

 the public, causing him great emotional distress.             (Compl. ¶¶ 25,

 162-164, 251-257).      Sandmann also alleges that defendant’s article

 “is now forever a part of the historical Internet record and will

 haunt and taint Nicholas for the remainder of his natural life and

 impugn his reputation for generations to come.”             (Compl. ¶ 254).

       The motion to dismiss argues that this publication is not

 libelous, but the Court has ruled in companion cases that it is

 libelous.    The Court continues to hold that opinion for the reason

 stated in such preceding cases.            See Sandmann v. The Washington

 Post, Cov. Case No. 19cv19 (Docs. 47, 64); Sandmann v. Cable News

 Network,    Cov.   Case   No.   19cv31     (Docs.   43,   44);   Sandmann    v.

 NBCUniversal Media, LLC, Cov. Case No. 19cv56 (Doc. 43).

                                       Analysis

       1. Failure to State a Claim

       As in other cases, the Complaint herein alleges that the

 defendant’s article quoted the following statement by Phillips:

              It was getting ugly, and I was thinking: I’ve
              got to find myself an exit out of this
              situation and finish my song at the Lincoln
              Memorial, Mr. Phillips told The Post. I
              started going that way, and that guy in the
              hat stood in my way and we were at an impasse.
              He just blocked my way and wouldn’t allow me
              to retreat.


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  (Compl. ¶ 206).       The Complaint alleges that this statement was

  false in that Sandmann did not block Phillips or interfere with

  him in any way, and that it conveys a defamatory meaning because

  it imputes to Sandmann racist conduct.               (Compl. ¶¶ 196, 207).

       The parties agree that Kentucky law applies to this case.

  Under Kentucky law, a writing is defamatory “if it tends to (1)

  bring a person into public hatred, contempt or ridicule; (2)

  cause him to be shunned or avoided; or (3) injure him in his

  business     or   occupation.”       McCall     v.     Courier-Journal       and

  Louisville Times Co., 623 S.W.2d 882, 884 (Ky. 1981) (citation

  omitted).    The allegations of the Complaint fit this definition

  precisely.

       The   Complaint       further   alleges   that     the   libel    was   the

  proximate result of defendant’s negligence, recklessness, and

  actual malice.       (Compl. ¶¶ 221-250).

       In its motion to dismiss, defendant cites Croce v. The New

  York Times Co., 930 F.3d 787 (6th Cir. 2019).             That case involves

  Ohio, rather than Kentucky, law.           But even if it were binding on

  this Court, it is not on point.

       In Croce, a newspaper published an article that included

  unflattering allegations against the plaintiff, a university

  professor and cancer researcher.           The Court held that, in “full

  context,” a “reasonable reader would interpret the article as a

  standard     piece    of    investigative      journalism”     which    simply

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  reported “newsworthy allegations with appropriate qualifying

  language.”     Id. at 794-95.

       That holding is inapplicable under the allegations of the

  Complaint here.       Defendant published a statement by Phillips

  that was made after Sandmann had departed for home, a statement

  to which Sandmann had no opportunity to reply in real time.

  While Sandmann had such an opportunity later, and such evidence

  might be admissible to show lack of malice, it is not a defense

  to   the   defamatory    meaning    of    Phillips’   original    statement

  itself.

       Therefore, the Court holds that the Complaint states a claim

  for relief.

       2. Statute of Limitations

       Defendant also asserts that Sandmann’s claim is barred by

 the statute of limitations because it was filed on March 2, 2020,

 more than one year after the relevant events occurred on January

 18, 2019.

       Of course, Sandmann was 16 years old at the time of these

 events.     And, under KRS 413.170(a), the running of a statute of

 limitations is tolled where the plaintiff is a minor, until he or

 she reaches the age of 18.       Thus, Sandmann had one year following

 his eighteenth birthday, which occurred in July 2020, to file his

 claim.




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         Defendant argues, however, that the statute of limitations

 began to run when Sandmann filed his first defamation suit through

 his parents as his next friends on February 19, 2019, relying on

 an unpublished opinion of the Kentucky Court of Appeals.                   See

 Tallman v. City of Elizabethtown, No. 2006-CA-002542, 2007 WL

 3227599 (Ky. Ct. App. Nov. 2, 2007).

         In Tallman, the Court held that the statute of limitations

 began to run against minor children when they were represented by

 their mother on related claims in prior litigation in federal

 court.    Id. at *3.    A reading of that decision, however, reveals

 that the Court considered the litigation before it to be highly

 unusual, and it noted that its ruling was made in light of “the

 procedural history of the case.”           Id.    No such history exists

 here.

         Moreover, the Court does not believe that the Kentucky

 Supreme    Court   would   agree   with    Tallman.      Tallman   cites    no

 authority for its holding, which conflicts with the plain language

 of the savings statute itself.        The statute makes no exception to

 the tolling of the limitations period for claims by a minor until

 he reaches the age of majority. See Bradford v. Bracken County,

 767 F. Supp.2d 740, 752 (E.D. Ky. 2011) (refusing to apply Tallman

 to bar plaintiff’s claim, finding that Kentucky Supreme Court

 would not adopt its reasoning because it would add exception to

 statute that legislature did not provide); T.S. v. Doe, Civil

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 Action No. 5:10-CV-217, 2010 WL 3941868, at *4 (E.D. Ky. Oct. 6,

 2010) (similar).

       Therefore, defendant’s statute of limitations defense is

 without merit.



       Thus, having reviewed this matter, and the Court being

 advised,

       IT IS ORDERED that defendant’s motion to dismiss (Doc. 18)

 be, and is hereby, DENIED.

       This 1st day of October 2020.




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